Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 1 of 37




                 EXHIBIT 1
        Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 2 of 37




                      UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF NEW YORK

GOVERNMENT OF THE UNITED                     )              Case Number: 1:22-cv-10904-JSR
STATES VIRGIN ISLANDS                        )
                                             )
                      PLAINTIFF,             )
                                             )
               V.                            )              LETTER OF REQUEST
                                             )
JPMORGAN CHASE BANK, N.A.                    )
                                             )
                      DEFENDANT.             )

      PLAINTIFF’S LETTER OF REQUEST FOR DOCUMENT PRODUCTION
   IN THE UNITED KINGDOM OF GREAT BRITAIN AND NORTHERN IRELAND
     PURSUANT TO THE HAGUE CONVENTION OF 18 MARCH 1970 ON THE
    TAKING OF EVIDENCE ABROAD IN CIVIL OR COMMERCIAL MATTERS

To the Central Authority of the United Kingdom of Great Britain and Northern Ireland:

        The UNITED STATES DISTRICT COURT for THE SOUTHERN DISTRICT OF NEW
YORK, (the “Court”), presents its greetings and compliments to the Judicial Authority of United
Kingdom of Great Britain and Northern Ireland (“UK”) and respectfully requests its assistance,
through its competent judicial authority, in obtaining evidence in connection with a civil
proceeding currently pending before this Court.


        This request is being made pursuant to Article 3 of the Hague Convention of 18 March
1970 on the Taking of Evidence in Civil and Commercial Matters, which is codified at 28 U.S.T.
2555.


        The Court asserts that the documents sought via this Request are directly relevant to the
issues in dispute and are not discovery within the meaning of Article 23 of the Hague Evidence
Convention; that is, merely testimony or documents intended to lead to relevant evidence for trial.
Based on existing timetables, this Court has scheduled trial in this action for September 5, 2023.
The deadline for obtaining evidence is currently set for April 24, 2023.


        The particulars of this Hague Evidence Request are as follows:
    Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 3 of 37




1. Sender and Requesting Judicial Authority:

                                   Hon. Jed S. Rakoff
                           UNITED STATES DISTRICT COURT
                              Southern District of New York
                                Daniel Patrick Moynihan
                                United States Courthouse
                                     500 Pearl Street
                                  New York, NY 10007
                                      212-805-0401


2. Central Authority of the Requested State:

                             The Legalisation Office
                   THE FOREIGN & COMMONWEALTH OFFICE
                              Norfolk House (West)
                              437 Silbury Boulevard
                            Milton Keynes MK9 2AH
                              UNITED KINGDOM
                         Telephone: +44 (0)1908 295 111


3. a. The Person to whom the executed request is to be returned:

                          Linda Singer (NYS Bar #2473403)
                                 MOTLEY RICE LLC
                             401 9th Street NW, Suite 630
                                Washington, DC 20004
                              Telephone: (202) 232-5504
                               lsinger@motleyrice.com

       on behalf of:

                                Hon. Jed S. Rakoff
                        UNITED STATES DISTRICT COURT
                           Southern District of New York
                             Daniel Patrick Moynihan
                             United States Courthouse
                                  500 Pearl Street
                               New York, NY 10007
                                   212-805-0401
    Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 4 of 37




   b. If there is urgency in having this letter executed, explain the reason here. This case is
   on an expedited trial schedule. All discovery, including depositions, must be
   completed by April 24, 2023.

4. Names and addresses of all parties and their representatives (including representatives in
   the UK):


       a. Plaintiff:                     Government of the United States Virgin Islands
                                         Virgin Islands Department of Justice
                                         34-38 Kronprindsens Gade
                                         St. Thomas, U.S. Virgin Island 00802


           Representatives:              Carol Thomas-Jacobs
                                         Acting Attorney General
                                         Virgin Islands Department of Justice
                                         Office of the Attorney General
                                         34-38 Kronprindsens Gade
                                         St. Thomas, U.S. Virgin Island 00802
                                         Tel: (340) 774-5666 ex 10101
                                         carol.jacobs@doj.vi.gov

                                         Linda Singer
                                         Motley Rice LLC
                                         401 9th street, NW Suite 630
                                         Washington, DC 20004
                                         Tel: (202) 386-9626
                                         lsinger@motleyrice.com

                                         David Ackerman
                                         Motley Rice LLC
                                         401 9th street, NW Suite 630
                                         Washington, DC 20004
                                         Tel: (202) 849-4962
                                         dackerman@motleyrice.com

                                         William H. Narwold
                                         Motley Rice LLC
                                         One Corporate Center
                                         20 Church Street, 17th Floor
                                         Hartford, CT 06103
                                         Tel: (860) 882-1676
                                         bnarwold@motleyrice.com
Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 5 of 37




                             Elizabeth Paige Boggs
                             Motley Rice LLC
                             401 9th street, NW Suite 630
                             Washington, DC 20004
                             Tel: (202) 386-9629
                             pboggs@motleyrice.com



  b. Defendant:              JP Morgan Chase Bank, N.A.
                             270 Park Avenue
                             New York, New York 10017
                             Tel: (212) 270-6000

     Representatives:        Boyd Milo Johnson, III
                             Wilmer Cutler Pickering Hale and Dorr LLP
                             7 World Trade Center
                             250 Greenwich St.
                             New York, NY 10007
                             Tel: (212) 230-8800
                             boyd.johnson@wilmerhale.com

                             Felicia H. Ellsworth
                             Wilmer Cutler Pickering Hale and Dorr LLP
                             60 State Street
                             Boston, MA 02109
                             Tel: (617) 526-6000
                             felicia.ellsworth@wilmerhale.com

                             Robert Lee Boone
                             Wilmer Cutler Pickering Hale and Dorr LLP
                             7 World Trade Center
                             New York, NY 10007
                             Tel: (212) 295-6314
                             robert.boone@wilmerhale.com

                             Ronald Machen
                             Wilmer Cutler Pickering Hale and Dorr LLP
                             1875 Pennsylvania Avenue NW
                             Washington, DC 20006
                             Tel: (202) 663-6881
                             ronald.machen@wilmerhale.com

                             John Butts
                             Wilmer Cutler Pickering Hale and Dorr LLP
                             60 State Street
        Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 6 of 37




                                               Boston, MA 02109
                                               Tel: (617) 526-6515
                                               john.butts@wilmerhale.com

                                               Hillary Chutter-Ames
                                               Wilmer Cutler Pickering Hale and Dorr LLP
                                               7 World Trade Center
                                               250 Greenwich St.
                                               New York, NY 10007
                                               Tel: (212) 230-8848
                                               hillary.chutter-ames@wilmerhale.com


   5. Nature and Purpose of the Proceeding:
        The Government of the United States Virgin Islands (“Government”) brought this civil
action against JPMorgan Chase Bank, N.A. (“JPMorgan”) as part of its ongoing effort to protect
public safety and to hold accountable those who facilitated or participated in, directly or indirectly,
the trafficking enterprise Jeffrey Epstein (“Epstein”) helmed. The Government’s investigation
revealed that JPMorgan knowingly, negligently, and unlawfully provided and pulled the levers
through which recruiters and victims were paid and was indispensable to the operation and
concealment of the Epstein trafficking enterprise. Financial institutions can connect—or choke—
human trafficking networks, and enforcement actions filed and injunctive relief obtained by
attorneys general are essential to ensure that enterprises like Epstein’s cannot flourish in the future.
       Former JPMorgan senior executive Jes Staley (“Staley”) developed a close relationship
with Epstein when Staley was the head of JPMorgan’s Private Bank. Between 2008 and 2012,
Staley exchanged approximately 1,200 emails with Epstein from his JPMorgan email account.
These communications show a close personal relationship between the two men, and that Staley
nonetheless played a role in JPMorgan’s compliance decisions with respect to Epstein. They also
reveal that Staley corresponded with Epstein while Epstein was incarcerated and visited Epstein’s
Virgin Islands residence on multiple occasions. Staley left JPMorgan in 2013 and became the Chief
Executive Officer of Barclays Bank PLC in 2015 until he resigned in November 2021 after the
Financial Conduct Authority began a preliminary investigation into Staley’s relationship with
Epstein. It has been publicly reported that Barclays Bank PLC produced documents to the
Financial Conduct Authority as part of its investigation into Staley’s relationship with Epstein.
These documents are equally applicable to the Government’s case.
        Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 7 of 37




    6. Evidence to be obtained or other judicial action to be performed:

        I.      Request for Documents –

        The evidence to be obtained consists of various documents, listed on the attached Schedule
A, which are maintained by the Witness Barclays Bank PLC [1 Churchill Place, London E14 5HP,
United Kingdom], which employed a former senior executive at JPMorgan with a close
relationship to Epstein. It is known that the Witness maintains these documents because it was
publicly reported that Barclays produced documents to the Financial Conduct Authority as part of
its Epstein-related investigation. This evidence will assist the Court in resolving the disputed issues
presented in the civil action before it.
        Accordingly, it is hereby requested that in the interest of justice that you cause by your
usual and proper process, orders to be entered as the UK law permits such that the Witness Barclays
Bank PLC is directed to produce the documents requested herein in digital and/or hard copy form.
If any of these documents cannot be produced for this court, we request that you order the
documents be delivered for inspection to a time and place of your choosing.
        Additionally, it is hereby requested that the Court issue an order instructing the Witness
Barclays Bank PLC that when it is ready to produce the requested documents it shall contact Linda
Singer at the email address or phone number identified in Section 3(a) above, and Ms. Singer will
then provide any necessary email information for delivery of the digital documents or a self-
addressed, pre-paid FedEx label for shipping of the hard copy documents.

    7. Special methods or procedures to be followed:

        I.      Requests for special methods:

                a. When Barclays Bank PLC is ready to produce the requested documents, it shall
                   contact Linda Singer at the email address or phone number identified in Section
                   3(a) above, and Ms. Singer shall then provide any necessary email information
                   for delivery of the digital documents and/or a self-addressed, pre-paid FedEx
                   label for shipment of the hard copy documents.

        II.     Privileges or Immunities and Procedures to be followed:

                a. Attorney-client privilege
        Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 8 of 37




               b.   Attorney work product privilege
               c.   Bank examination privilege
               d.   Protections provided under the Bank Secrecy Act, 31 U.S.C. §§ 5311 to 5336
               e.   Rules 26 and 34 of the Federal Rules of Civil Procedure

   8. Fees and costs incurred which are reimbursable under Articles 14 or 26 of the Convention
       will be borne by:

                            Government of the United States Virgin Islands
                                            Linda Singer
                                        Motley Rice, LLC
                                   401 9th Street NW, Suite 630
                                     Washington, DC 20004
                                    Telephone: (202) 386-9626
                                  Email: lsinger@motleyrice.com


   9. This court recognizes that it is asking its UK counterpart to order the production of
       evidence that is potentially confidential, sensitive, or involves trade secrets. Accordingly,
       appended to this request is a protective order to assure the appropriate UK court and the
       UK witness that any and all disclosed information will be treated with the utmost respect
       and confidence.



U.S. District courts are authorized by statute, 28 U.S.C § 1782, to extend similar assistance to the
UK courts in civil cases.


The Court extends to the judicial authorities of the UK the assurances of its highest consideration.




                             _________________________________
                                      Hon. Jed S. Rakoff
                             UNITED STATES DISTRICT COURT
                                 Southern District of New York
                                   Daniel Patrick Moynihan
                                   United States Courthouse
                                        500 Pearl Street
                                     New York, NY 10007
                                         212-805-0401
       Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 9 of 37




Dated: This _________ day of ___________________, 20___________


      [Seal of the Court]




Attachments:
       Protective Order
       Other documents referenced within
       Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 10 of 37




                                     SCHEDULE A
I.     DOCUMENT REQUESTS

       1.      Barclays Bank PLC shall produce a copy of the Documents it provided to the

Financial Conduct Authority regarding James E. Staley’s relationship to Jeffrey E. Epstein with

Barclays Bank PLC’s letters dated February 3, 2020, February 13, 2020, and July 10, 2020, and a

copy of the interviews or testimony Barclays Bank PLC provided to the Financial Conduct

Authority in connection with the same matter.

       2.      Barclays Bank PLC shall produce a copy of the Documents reflecting its

investigation of James E. Staley’s relationship with Jeffrey E. Epstein in connection with the hiring

and departure of James E. Staley as Barclays Bank PLC’s Chief Executive Officer. See Jes Staley

reportedly exchanged 1,200 emails with Jeffrey Epstein in four years, Kalyeena Makortoff, The

Guardian, November 12, 2021, https://www.theguardian.com/business/2021/nov/12/jess-staley-

ex-barclays-boss-emails-jeffrey-epstein-reports.

       3.      Barclays Bank PLC shall produce the report it received from the Financial Conduct

Authority reflecting the Financial Conduct Authority’s findings with regard to James E. Staley’s

relationship with Jeffrey E. Epstein. See Jes Staley: why did the FCA investigate and are its

findings    public?,    Kayleena     Makortoff,        The   Guardian,    November       1,    2021,

https://www.theguardian.com/business/2021/nov/01/jes-staley-why-is-there-an-fca-investigation-

findings-barclays


II.    DEFINITIONS

       1.      "Concerning" means relating to, referring to, describing, evidencing or constituting.

       2.      The terms "Document" or "Documents" are defined to be synonymous and equal in



                                                   1
        Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 11 of 37




scope to the usage of these terms in Federal Rule of Civil Procedure 34(a), including, without

limitation, any written, drawn, printed, typed, photographed or other graphic or electronically or

computerized recorded data or compilations of any kind or nature prepared or received by, or in

the possession, custody or control of the answering party, its agents, servants, employees or other

representatives. Originals, drafts and all non-identical copies are separate Documents within the

meaning of this term.

        3.      "Referring to", "relating to", "reflecting", "regarding" or "with respect to" mean,

without limitation the concepts pertain to, deal with, concern, reflect, record, report, constitute,

contain, mention, describe, discuss, analyze, evaluate, estimate, study, survey, project, assess,

support, modify, contradict, criticize, summarize, comment, or otherwise involve, in whole or in

part.

        4.      “Barclays Bank PLC” includes all predecessors, successors, subsidiaries, parents,

branches, departments, divisions, or affiliates, including, without limitation, any organization or

entity in which they have management or controlling interests, together with all present and former

directors, officers, employees, agents, representatives, or any other persons acting, or purporting

to act, on behalf of the identified entities.




                                                 2
 Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 12 of 37




ATTACHMENT TO LETTER OF REQUEST
   FOR DOCUMENT PRODUCTION:


              PROTECTIVE ORDER
Case
 Case1:22-cv-10904-JSR
       1:22-cv-10904-JSR Document
                          Document34-1
                                   15 Filed
                                       Filed 01/10/23
                                             01/26/23 Page
                                                      Page 113ofof1137
Case
 Case1:22-cv-10904-JSR
       1:22-cv-10904-JSR Document
                          Document34-1
                                   15 Filed
                                       Filed 01/10/23
                                             01/26/23 Page
                                                      Page 214ofof1137
Case
 Case1:22-cv-10904-JSR
       1:22-cv-10904-JSR Document
                          Document34-1
                                   15 Filed
                                       Filed 01/10/23
                                             01/26/23 Page
                                                      Page 315ofof1137
Case
 Case1:22-cv-10904-JSR
       1:22-cv-10904-JSR Document
                          Document34-1
                                   15 Filed
                                       Filed 01/10/23
                                             01/26/23 Page
                                                      Page 416ofof1137
Case
 Case1:22-cv-10904-JSR
       1:22-cv-10904-JSR Document
                          Document34-1
                                   15 Filed
                                       Filed 01/10/23
                                             01/26/23 Page
                                                      Page 517ofof1137
Case
 Case1:22-cv-10904-JSR
       1:22-cv-10904-JSR Document
                          Document34-1
                                   15 Filed
                                       Filed 01/10/23
                                             01/26/23 Page
                                                      Page 618ofof1137
Case
 Case1:22-cv-10904-JSR
       1:22-cv-10904-JSR Document
                          Document34-1
                                   15 Filed
                                       Filed 01/10/23
                                             01/26/23 Page
                                                      Page 719ofof1137
Case
 Case1:22-cv-10904-JSR
       1:22-cv-10904-JSR Document
                          Document34-1
                                   15 Filed
                                       Filed 01/10/23
                                             01/26/23 Page
                                                      Page 820ofof1137
Case
 Case1:22-cv-10904-JSR
       1:22-cv-10904-JSR Document
                          Document34-1
                                   15 Filed
                                       Filed 01/10/23
                                             01/26/23 Page
                                                      Page 921ofof1137
Case
 Case1:22-cv-10904-JSR
      1:22-cv-10904-JSR Document
                         Document34-1
                                  15 Filed
                                      Filed01/10/23
                                            01/26/23 Page
                                                      Page10
                                                           22ofof11
                                                                  37
Case
 Case1:22-cv-10904-JSR
      1:22-cv-10904-JSR Document
                         Document34-1
                                  15 Filed
                                      Filed01/10/23
                                            01/26/23 Page
                                                      Page11
                                                           23ofof11
                                                                  37
 Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 24 of 37




ATTACHMENT TO LETTER OF REQUEST
   FOR DOCUMENT PRODUCTION:


           RULES 26 AND 34 OF THE
FEDERAL RULES OF CIVIL PROCEDURE
             Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 25 of 37
Rule 26. Duty to Disclose; General Provisions Governing Discovery..., FRCP Rule 26




  United States Code Annotated
    Federal Rules of Civil Procedure for the United States District Courts (Refs & Annos)
       Title V. Disclosures and Discovery (Refs & Annos)

                                          Federal Rules of Civil Procedure Rule 26

  Rule 26. Duty to Disclose; General Provisions Governing Discovery [Rule Text & Notes of Decisions subdivisions I, II]

                                                         Currentness


    <Notes of Decisions for 28 USCA Federal Rules of Civil Procedure Rule 26 are displayed in multiple documents. >


(a) Required Disclosures.


  (1) Initial Disclosure.


    (A) In General. Except as exempted by Rule 26(a)(1)(B) or as otherwise stipulated or ordered by the court, a party must,
    without awaiting a discovery request, provide to the other parties:


       (i) the name and, if known, the address and telephone number of each individual likely to have discoverable information--
       along with the subjects of that information--that the disclosing party may use to support its claims or defenses, unless
       the use would be solely for impeachment;


       (ii) a copy--or a description by category and location--of all documents, electronically stored information, and tangible
       things that the disclosing party has in its possession, custody, or control and may use to support its claims or defenses,
       unless the use would be solely for impeachment;


       (iii) a computation of each category of damages claimed by the disclosing party--who must also make available for
       inspection and copying as under Rule 34 the documents or other evidentiary material, unless privileged or protected
       from disclosure, on which each computation is based, including materials bearing on the nature and extent of injuries
       suffered; and


       (iv) for inspection and copying as under Rule 34, any insurance agreement under which an insurance business may
       be liable to satisfy all or part of a possible judgment in the action or to indemnify or reimburse for payments made to
       satisfy the judgment.


    (B) Proceedings Exempt from Initial Disclosure. The following proceedings are exempt from initial disclosure:


       (i) an action for review on an administrative record;




               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                            1
            Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 26 of 37
Rule 26. Duty to Disclose; General Provisions Governing Discovery..., FRCP Rule 26




      (ii) a forfeiture action in rem arising from a federal statute;


      (iii) a petition for habeas corpus or any other proceeding to challenge a criminal conviction or sentence;


      (iv) an action brought without an attorney by a person in the custody of the United States, a state, or a state subdivision;


      (v) an action to enforce or quash an administrative summons or subpoena;


      (vi) an action by the United States to recover benefit payments;


      (vii) an action by the United States to collect on a student loan guaranteed by the United States;


      (viii) a proceeding ancillary to a proceeding in another court; and


      (ix) an action to enforce an arbitration award.


    (C) Time for Initial Disclosures--In General. A party must make the initial disclosures at or within 14 days after the
    parties' Rule 26(f) conference unless a different time is set by stipulation or court order, or unless a party objects during
    the conference that initial disclosures are not appropriate in this action and states the objection in the proposed discovery
    plan. In ruling on the objection, the court must determine what disclosures, if any, are to be made and must set the time
    for disclosure.


    (D) Time for Initial Disclosures--For Parties Served or Joined Later. A party that is first served or otherwise joined after
    the Rule 26(f) conference must make the initial disclosures within 30 days after being served or joined, unless a different
    time is set by stipulation or court order.


    (E) Basis for Initial Disclosure; Unacceptable Excuses. A party must make its initial disclosures based on the information
    then reasonably available to it. A party is not excused from making its disclosures because it has not fully investigated
    the case or because it challenges the sufficiency of another party's disclosures or because another party has not made its
    disclosures.


  (2) Disclosure of Expert Testimony.


    (A) In General. In addition to the disclosures required by Rule 26(a)(1), a party must disclose to the other parties the
    identity of any witness it may use at trial to present evidence under Federal Rule of Evidence 702, 703, or 705.


    (B) Witnesses Who Must Provide a Written Report. Unless otherwise stipulated or ordered by the court, this disclosure
    must be accompanied by a written report--prepared and signed by the witness--if the witness is one retained or specially




              © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                              2
             Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 27 of 37
Rule 26. Duty to Disclose; General Provisions Governing Discovery..., FRCP Rule 26


    employed to provide expert testimony in the case or one whose duties as the party's employee regularly involve giving
    expert testimony. The report must contain:


       (i) a complete statement of all opinions the witness will express and the basis and reasons for them;


       (ii) the facts or data considered by the witness in forming them;


       (iii) any exhibits that will be used to summarize or support them;


       (iv) the witness's qualifications, including a list of all publications authored in the previous 10 years;


       (v) a list of all other cases in which, during the previous 4 years, the witness testified as an expert at trial or by deposition;
       and


       (vi) a statement of the compensation to be paid for the study and testimony in the case.


    (C) Witnesses Who Do Not Provide a Written Report. Unless otherwise stipulated or ordered by the court, if the witness
    is not required to provide a written report, this disclosure must state:


       (i) the subject matter on which the witness is expected to present evidence under Federal Rule of Evidence 702, 703,
       or 705; and


       (ii) a summary of the facts and opinions to which the witness is expected to testify.


    (D) Time to Disclose Expert Testimony. A party must make these disclosures at the times and in the sequence that the court
    orders. Absent a stipulation or a court order, the disclosures must be made:


       (i) at least 90 days before the date set for trial or for the case to be ready for trial; or


       (ii) if the evidence is intended solely to contradict or rebut evidence on the same subject matter identified by another
       party under Rule 26(a)(2)(B) or (C), within 30 days after the other party's disclosure.


    (E) Supplementing the Disclosure. The parties must supplement these disclosures when required under Rule 26(e).


  (3) Pretrial Disclosures.


    (A) In General. In addition to the disclosures required by Rule 26(a)(1) and (2), a party must provide to the other parties and
    promptly file the following information about the evidence that it may present at trial other than solely for impeachment:



               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                                    3
             Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 28 of 37
Rule 26. Duty to Disclose; General Provisions Governing Discovery..., FRCP Rule 26




       (i) the name and, if not previously provided, the address and telephone number of each witness--separately identifying
       those the party expects to present and those it may call if the need arises;


       (ii) the designation of those witnesses whose testimony the party expects to present by deposition and, if not taken
       stenographically, a transcript of the pertinent parts of the deposition; and


       (iii) an identification of each document or other exhibit, including summaries of other evidence--separately identifying
       those items the party expects to offer and those it may offer if the need arises.


    (B) Time for Pretrial Disclosures; Objections. Unless the court orders otherwise, these disclosures must be made at least 30
    days before trial. Within 14 days after they are made, unless the court sets a different time, a party may serve and promptly
    file a list of the following objections: any objections to the use under Rule 32(a) of a deposition designated by another party
    under Rule 26(a)(3)(A)(ii); and any objection, together with the grounds for it, that may be made to the admissibility of
    materials identified under Rule 26(a)(3)(A)(iii). An objection not so made--except for one under Federal Rule of Evidence
    402 or 403--is waived unless excused by the court for good cause.


  (4) Form of Disclosures. Unless the court orders otherwise, all disclosures under Rule 26(a) must be in writing, signed,
  and served.


(b) Discovery Scope and Limits.


  (1) Scope in General. Unless otherwise limited by court order, the scope of discovery is as follows: Parties may obtain
  discovery regarding any nonprivileged matter that is relevant to any party's claim or defense and proportional to the needs
  of the case, considering the importance of the issues at stake in the action, the amount in controversy, the parties' relative
  access to relevant information, the parties' resources, the importance of the discovery in resolving the issues, and whether the
  burden or expense of the proposed discovery outweighs its likely benefit. Information within this scope of discovery need
  not be admissible in evidence to be discoverable.


  (2) Limitations on Frequency and Extent.


    (A) When Permitted. By order, the court may alter the limits in these rules on the number of depositions and interrogatories
    or on the length of depositions under Rule 30. By order or local rule, the court may also limit the number of requests
    under Rule 36.


    (B) Specific Limitations on Electronically Stored Information. A party need not provide discovery of electronically stored
    information from sources that the party identifies as not reasonably accessible because of undue burden or cost. On motion
    to compel discovery or for a protective order, the party from whom discovery is sought must show that the information
    is not reasonably accessible because of undue burden or cost. If that showing is made, the court may nonetheless order
    discovery from such sources if the requesting party shows good cause, considering the limitations of Rule 26(b)(2)(C).
    The court may specify conditions for the discovery.




               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                              4
            Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 29 of 37
Rule 26. Duty to Disclose; General Provisions Governing Discovery..., FRCP Rule 26




    (C) When Required. On motion or on its own, the court must limit the frequency or extent of discovery otherwise allowed
    by these rules or by local rule if it determines that:


      (i) the discovery sought is unreasonably cumulative or duplicative, or can be obtained from some other source that is
      more convenient, less burdensome, or less expensive;


      (ii) the party seeking discovery has had ample opportunity to obtain the information by discovery in the action; or


      (iii) the proposed discovery is outside the scope permitted by Rule 26(b)(1).


  (3) Trial Preparation: Materials.


    (A) Documents and Tangible Things. Ordinarily, a party may not discover documents and tangible things that are prepared
    in anticipation of litigation or for trial by or for another party or its representative (including the other party's attorney,
    consultant, surety, indemnitor, insurer, or agent). But, subject to Rule 26(b)(4), those materials may be discovered if:


      (i) they are otherwise discoverable under Rule 26(b)(1); and


      (ii) the party shows that it has substantial need for the materials to prepare its case and cannot, without undue hardship,
      obtain their substantial equivalent by other means.


    (B) Protection Against Disclosure. If the court orders discovery of those materials, it must protect against disclosure of
    the mental impressions, conclusions, opinions, or legal theories of a party's attorney or other representative concerning
    the litigation.


    (C) Previous Statement. Any party or other person may, on request and without the required showing, obtain the person's
    own previous statement about the action or its subject matter. If the request is refused, the person may move for a court
    order, and Rule 37(a)(5) applies to the award of expenses. A previous statement is either:


      (i) a written statement that the person has signed or otherwise adopted or approved; or


      (ii) a contemporaneous stenographic, mechanical, electrical, or other recording--or a transcription of it--that recites
      substantially verbatim the person's oral statement.


  (4) Trial Preparation: Experts.


    (A) Deposition of an Expert Who May Testify. A party may depose any person who has been identified as an expert whose
    opinions may be presented at trial. If Rule 26(a)(2)(B) requires a report from the expert, the deposition may be conducted
    only after the report is provided.



              © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                               5
            Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 30 of 37
Rule 26. Duty to Disclose; General Provisions Governing Discovery..., FRCP Rule 26




    (B) Trial-Preparation Protection for Draft Reports or Disclosures. Rules 26(b)(3)(A) and (B) protect drafts of any report
    or disclosure required under Rule 26(a)(2), regardless of the form in which the draft is recorded.


    (C) Trial-Preparation Protection for Communications Between a Party's Attorney and Expert Witnesses. Rules 26(b)(3)
    (A) and (B) protect communications between the party's attorney and any witness required to provide a report under Rule
    26(a)(2)(B), regardless of the form of the communications, except to the extent that the communications:


      (i) relate to compensation for the expert's study or testimony;


      (ii) identify facts or data that the party's attorney provided and that the expert considered in forming the opinions to
      be expressed; or


      (iii) identify assumptions that the party's attorney provided and that the expert relied on in forming the opinions to be
      expressed.


    (D) Expert Employed Only for Trial Preparation. Ordinarily, a party may not, by interrogatories or deposition, discover
    facts known or opinions held by an expert who has been retained or specially employed by another party in anticipation
    of litigation or to prepare for trial and who is not expected to be called as a witness at trial. But a party may do so only:


      (i) as provided in Rule 35(b); or


      (ii) on showing exceptional circumstances under which it is impracticable for the party to obtain facts or opinions on
      the same subject by other means.


    (E) Payment. Unless manifest injustice would result, the court must require that the party seeking discovery:


      (i) pay the expert a reasonable fee for time spent in responding to discovery under Rule 26(b)(4)(A) or (D); and


      (ii) for discovery under (D), also pay the other party a fair portion of the fees and expenses it reasonably incurred in
      obtaining the expert's facts and opinions.


  (5) Claiming Privilege or Protecting Trial-Preparation Materials.


    (A) Information Withheld. When a party withholds information otherwise discoverable by claiming that the information
    is privileged or subject to protection as trial-preparation material, the party must:


      (i) expressly make the claim; and




              © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                             6
             Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 31 of 37
Rule 26. Duty to Disclose; General Provisions Governing Discovery..., FRCP Rule 26




       (ii) describe the nature of the documents, communications, or tangible things not produced or disclosed--and do so in a
       manner that, without revealing information itself privileged or protected, will enable other parties to assess the claim.


    (B) Information Produced. If information produced in discovery is subject to a claim of privilege or of protection as trial-
    preparation material, the party making the claim may notify any party that received the information of the claim and the
    basis for it. After being notified, a party must promptly return, sequester, or destroy the specified information and any
    copies it has; must not use or disclose the information until the claim is resolved; must take reasonable steps to retrieve
    the information if the party disclosed it before being notified; and may promptly present the information to the court under
    seal for a determination of the claim. The producing party must preserve the information until the claim is resolved.


(c) Protective Orders.


  (1) In General. A party or any person from whom discovery is sought may move for a protective order in the court where the
  action is pending -- or as an alternative on matters relating to a deposition, in the court for the district where the deposition
  will be taken. The motion must include a certification that the movant has in good faith conferred or attempted to confer
  with other affected parties in an effort to resolve the dispute without court action. The court may, for good cause, issue an
  order to protect a party or person from annoyance, embarrassment, oppression, or undue burden or expense, including one
  or more of the following:


    (A) forbidding the disclosure or discovery;


    (B) specifying terms, including time and place or the allocation of expenses, for the disclosure or discovery;


    (C) prescribing a discovery method other than the one selected by the party seeking discovery;


    (D) forbidding inquiry into certain matters, or limiting the scope of disclosure or discovery to certain matters;


    (E) designating the persons who may be present while the discovery is conducted;


    (F) requiring that a deposition be sealed and opened only on court order;


    (G) requiring that a trade secret or other confidential research, development, or commercial information not be revealed
    or be revealed only in a specified way; and


    (H) requiring that the parties simultaneously file specified documents or information in sealed envelopes, to be opened
    as the court directs.


  (2) Ordering Discovery. If a motion for a protective order is wholly or partly denied, the court may, on just terms, order that
  any party or person provide or permit discovery.




               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                              7
             Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 32 of 37
Rule 26. Duty to Disclose; General Provisions Governing Discovery..., FRCP Rule 26




  (3) Awarding Expenses. Rule 37(a)(5) applies to the award of expenses.


(d) Timing and Sequence of Discovery.


  (1) Timing. A party may not seek discovery from any source before the parties have conferred as required by Rule 26(f), except
  in a proceeding exempted from initial disclosure under Rule 26(a)(1)(B), or when authorized by these rules, by stipulation,
  or by court order.


  (2) Early Rule 34 Requests.


    (A) Time to Deliver. More than 21 days after the summons and complaint are served on a party, a request under Rule
    34 may be delivered:


       (i) to that party by any other party, and


       (ii) by that party to any plaintiff or to any other party that has been served.


    (B) When Considered Served. The request is considered to have been served at the first Rule 26(f) conference.


  (3) Sequence. Unless the parties stipulate or the court orders otherwise for the parties' and witnesses' convenience and in
  the interests of justice:


    (A) methods of discovery may be used in any sequence; and


    (B) discovery by one party does not require any other party to delay its discovery.


(e) Supplementing Disclosures and Responses.


  (1) In General. A party who has made a disclosure under Rule 26(a)--or who has responded to an interrogatory, request for
  production, or request for admission--must supplement or correct its disclosure or response:


    (A)in a timely manner if the party learns that in some material respect the disclosure or response is incomplete or incorrect,
    and if the additional or corrective information has not otherwise been made known to the other parties during the discovery
    process or in writing; or


    (B) as ordered by the court.




               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                             8
             Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 33 of 37
Rule 26. Duty to Disclose; General Provisions Governing Discovery..., FRCP Rule 26




  (2) Expert Witness. For an expert whose report must be disclosed under Rule 26(a)(2)(B), the party's duty to supplement
  extends both to information included in the report and to information given during the expert's deposition. Any additions or
  changes to this information must be disclosed by the time the party's pretrial disclosures under Rule 26(a)(3) are due.


(f) Conference of the Parties; Planning for Discovery.


  (1) Conference Timing. Except in a proceeding exempted from initial disclosure under Rule 26(a)(1)(B) or when the court
  orders otherwise, the parties must confer as soon as practicable--and in any event at least 21 days before a scheduling
  conference is to be held or a scheduling order is due under Rule 16(b).


  (2) Conference Content; Parties' Responsibilities. In conferring, the parties must consider the nature and basis of their claims
  and defenses and the possibilities for promptly settling or resolving the case; make or arrange for the disclosures required
  by Rule 26(a)(1); discuss any issues about preserving discoverable information; and develop a proposed discovery plan.
  The attorneys of record and all unrepresented parties that have appeared in the case are jointly responsible for arranging
  the conference, for attempting in good faith to agree on the proposed discovery plan, and for submitting to the court within
  14 days after the conference a written report outlining the plan. The court may order the parties or attorneys to attend the
  conference in person.


  (3) Discovery Plan. A discovery plan must state the parties' views and proposals on:


    (A) what changes should be made in the timing, form, or requirement for disclosures under Rule 26(a), including a statement
    of when initial disclosures were made or will be made;


    (B) the subjects on which discovery may be needed, when discovery should be completed, and whether discovery should
    be conducted in phases or be limited to or focused on particular issues;


    (C) any issues about disclosure, discovery, or preservation of electronically stored information, including the form or forms
    in which it should be produced;


    (D) any issues about claims of privilege or of protection as trial-preparation materials, including -- if the parties agree on
    a procedure to assert these claims after production -- whether to ask the court to include their agreement in an order under
    Federal Rule of Evidence 502;


    (E) what changes should be made in the limitations on discovery imposed under these rules or by local rule, and what
    other limitations should be imposed; and


    (F) any other orders that the court should issue under Rule 26(c) or under Rule 16(b) and (c).


  (4) Expedited Schedule. If necessary to comply with its expedited schedule for Rule 16(b) conferences, a court may by local
  rule:



               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                             9
             Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 34 of 37
Rule 26. Duty to Disclose; General Provisions Governing Discovery..., FRCP Rule 26




     (A) require the parties' conference to occur less than 21 days before the scheduling conference is held or a scheduling
     order is due under Rule 16(b); and


     (B) require the written report outlining the discovery plan to be filed less than 14 days after the parties' conference, or
     excuse the parties from submitting a written report and permit them to report orally on their discovery plan at the Rule
     16(b) conference.


(g) Signing Disclosures and Discovery Requests, Responses, and Objections.


  (1) Signature Required; Effect of Signature. Every disclosure under Rule 26(a)(1) or (a)(3) and every discovery request,
  response, or objection must be signed by at least one attorney of record in the attorney's own name--or by the party personally,
  if unrepresented--and must state the signer's address, e-mail address, and telephone number. By signing, an attorney or party
  certifies that to the best of the person's knowledge, information, and belief formed after a reasonable inquiry:


     (A) with respect to a disclosure, it is complete and correct as of the time it is made; and


     (B) with respect to a discovery request, response, or objection, it is:


       (i) consistent with these rules and warranted by existing law or by a nonfrivolous argument for extending, modifying,
       or reversing existing law, or for establishing new law;


       (ii) not interposed for any improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost
       of litigation; and


       (iii) neither unreasonable nor unduly burdensome or expensive, considering the needs of the case, prior discovery in the
       case, the amount in controversy, and the importance of the issues at stake in the action.


  (2) Failure to Sign. Other parties have no duty to act on an unsigned disclosure, request, response, or objection until it is
  signed, and the court must strike it unless a signature is promptly supplied after the omission is called to the attorney's or
  party's attention.


  (3) Sanction for Improper Certification. If a certification violates this rule without substantial justification, the court, on
  motion or on its own, must impose an appropriate sanction on the signer, the party on whose behalf the signer was acting, or
  both. The sanction may include an order to pay the reasonable expenses, including attorney's fees, caused by the violation.


   CREDIT(S)
   (Amended December 27, 1946, effective March 19, 1948; January 21, 1963, effective July 1, 1963; February 28, 1966,
effective July 1, 1966; March 30, 1970, effective July 1, 1970; April 29, 1980, effective August 1, 1980; April 28, 1983, effective
August 1, 1983; March 2, 1987, effective August 1, 1987; April 22, 1993, effective December 1, 1993; April 17, 2000, effective
December 1, 2000; April 12, 2006, effective December 1, 2006; April 30, 2007, effective December 1, 2007; April 28, 2010,
effective December 1, 2010; April 29, 2015, effective December 1, 2015.)


               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                             10
            Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 35 of 37
Rule 26. Duty to Disclose; General Provisions Governing Discovery..., FRCP Rule 26




Fed. Rules Civ. Proc. Rule 26, 28 U.S.C.A., FRCP Rule 26
Including Amendments Received Through 1-1-23

End of Document                                             © 2023 Thomson Reuters. No claim to original U.S. Government Works.




              © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                          11
             Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 36 of 37
Rule 34. Producing Documents, Electronically Stored Information,..., FRCP Rule 34




  United States Code Annotated
    Federal Rules of Civil Procedure for the United States District Courts (Refs & Annos)
       Title V. Disclosures and Discovery (Refs & Annos)

                                          Federal Rules of Civil Procedure Rule 34

                           Rule 34. Producing Documents, Electronically Stored Information, and
                         Tangible Things, or Entering Onto Land, for Inspection and Other Purposes

                                                         Currentness


(a) In General. A party may serve on any other party a request within the scope of Rule 26(b):


  (1) to produce and permit the requesting party or its representative to inspect, copy, test, or sample the following items in
  the responding party's possession, custody, or control:


    (A) any designated documents or electronically stored information--including writings, drawings, graphs, charts,
    photographs, sound recordings, images, and other data or data compilations--stored in any medium from which information
    can be obtained either directly or, if necessary, after translation by the responding party into a reasonably usable form; or


    (B) any designated tangible things; or


  (2) to permit entry onto designated land or other property possessed or controlled by the responding party, so that the
  requesting party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation
  on it.


(b) Procedure.


  (1) Contents of the Request. The request:


    (A) must describe with reasonable particularity each item or category of items to be inspected;


    (B) must specify a reasonable time, place, and manner for the inspection and for performing the related acts; and


    (C) may specify the form or forms in which electronically stored information is to be produced.


  (2) Responses and Objections.




                 © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                          1
             Case 1:22-cv-10904-JSR Document 34-1 Filed 01/26/23 Page 37 of 37
Rule 34. Producing Documents, Electronically Stored Information,..., FRCP Rule 34




    (A) Time to Respond. The party to whom the request is directed must respond in writing within 30 days after being served
    or -- if the request was delivered under Rule 26(d)(2) -- within 30 days after the parties' first Rule 26(f) conference. A
    shorter or longer time may be stipulated to under Rule 29 or be ordered by the court.


    (B) Responding to Each Item. For each item or category, the response must either state that inspection and related activities
    will be permitted as requested or state with specificity the grounds for objecting to the request, including the reasons.
    The responding party may state that it will produce copies of documents or of electronically stored information instead of
    permitting inspection. The production must then be completed no later than the time for inspection specified in the request
    or another reasonable time specified in the response.


    (C) Objections. An objection must state whether any responsive materials are being withheld on the basis of that objection.
    An objection to part of a request must specify the part and permit inspection of the rest.


    (D) Responding to a Request for Production of Electronically Stored Information. The response may state an objection to
    a requested form for producing electronically stored information. If the responding party objects to a requested form--or
    if no form was specified in the request--the party must state the form or forms it intends to use.


    (E) Producing the Documents or Electronically Stored Information. Unless otherwise stipulated or ordered by the court,
    these procedures apply to producing documents or electronically stored information:


       (i) A party must produce documents as they are kept in the usual course of business or must organize and label them
       to correspond to the categories in the request;


       (ii)If a request does not specify a form for producing electronically stored information, a party must produce it in a form
       or forms in which it is ordinarily maintained or in a reasonably usable form or forms; and


       (iii) A party need not produce the same electronically stored information in more than one form.


(c) Nonparties. As provided in Rule 45, a nonparty may be compelled to produce documents and tangible things or to permit
an inspection.


   CREDIT(S)
   (Amended December 27, 1946, effective March 19, 1948; March 30, 1970, effective July 1, 1970; April 29, 1980, effective
August 1, 1980; March 2, 1987, effective August 1, 1987; April 30, 1991, effective December 1, 1991; April 22, 1993, effective
December 1, 1993; April 12, 2006, effective December 1, 2006; April 30, 2007, effective December 1, 2007; April 29, 2015,
effective December 1, 2015.)


Fed. Rules Civ. Proc. Rule 34, 28 U.S.C.A., FRCP Rule 34
Including Amendments Received Through 1-1-23

End of Document                                                     © 2023 Thomson Reuters. No claim to original U.S. Government Works.




               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                                   2
